                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   Beckley Division

DAVID M. DAUGHERTY,

                 Plaintiffs,

          v.                                                  Civil Action No. 5:14-cv-24506

OCWEN LOAN SERVICING, LLC,

                 Defendants.

                         ORDER RELEASING SUPERSEDEAS BOND

          This matter came before the Court on the consent motion of Defendant Ocwen Loan

Servicing, LLC (“Ocwen”), for entry of an Order releasing the supersedeas bond filed with this

Court on December 13, 2016.

          Upon consideration of the motion, and it appearing to the Court that Plaintiff consents to

the release, as evidenced by the endorsement hereto by counsel for Plaintiff, it is hereby

          ORDERED that Ocwen’s Motion for release of the supersedeas bond is GRANTED and

the supersedeas bond previously deposited into the registry of this Court in the amount of

$2,800,000.00 by Ocwen shall be terminated and released, having no further force and effect.

The Clerk is hereby directed to return the original supersedeas bond to Ocwen’s counsel of

record.

          IT IS SO ORDERED.

          Entered this 16th day of November, 2017.

                                               ___________________________________
                                               United States District / Magistrate Judge
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Dated: October 12, 2017                        Respectfully submitted,


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